      Appellate Case: 24-5133        Document: 32       Date Filed: 02/03/2025        Page: 1



                                      Oscar Stilley
       BOP #10579-062 Cimarron Correctional Facility, 3200 S. Kings Highway, Cushing OK 74023


January 28, 2025
Christopher Wolpert, Clerk
Attn: Team2
Byron White U.S. Courthouse
                                                                             ~L
1823 Stout Street                                                                FES OS 2011
Denver, CO 80257-1823
                                                                      ClfRrsToPHa M wo,....~...1
Re:      USA v. Stilley                                                             Clerk '     ~- •
        10th Circuit Case No. 24-5133
        OKND Case # 4:09-cr-43 SEH

Dear Mr. Wolpert:
Enclosed please fmd an entry of appearance and a motion for remand of this case to the district
court. Please cause these to be filed.
I haven't received a scheduling order, stating a deadline for the opening brief. I know your
January 2, 2025 letter says a brief is due in 40 days of that letter, but an order entered the same
day says, on page 2, that a briefing schedule will be entered at a later date. I assume that the
enclosed motion will result in remand, and that there will be no briefing schedule until the matter
is returned to the court of appeals for the prosecution of the appeal. Please let me know if that
does not appear to you to be the case.
This private CoreCivic prison is breathtakingly inept (or worse) with the mail. I recently placed
pleadings in the outgoing prison mail receptacle, addressed to the OKND district court clerk,
marked "Legal Mail," on January 2nd • The envelope was postmarked the 8t1'. An inmate friend
here tells me that this is standard operating procedure. Nothing the inmate does, up to and
including hand delivery to the mail clerk, seems to make a difference. Please keep this in mind
when you look at my signature dates, as opposed to the postmark dates on the envelopes.
Thanks very much for your kind assistance in these matters.




 ~
Oscar Stilley
Copy of this letter only to: Elissa Hart-Mahan, for herself and also for Katie Bagley, S. Robert
Lyons, Joseph Syverson
     Appellate Case: 24-5133   Document: 32     Date Filed: 02/03/2025   Page: 2



                     UNITED STATES COURT OF APPEALS
                          FOR THE TENTH CIRCUIT
UNITED STATES                                        PLAINTIFF/APPELLEE
V.                        Tenth Circuit Appeal No. 24-5133
                          (OKND Criminal 4:09-cr-43 SEH-2)

OSCAR STILLEY                                        DEFENDANTIAPPELLANT
   APPELLANT STILLEY'S VERIFIED MOTION FOR REMAND FOR
 FINDINGS AND ORDER CONCERNING RELEASE PENDING APPEAL,
   AND TO SUPPLEMENT THE RECORD, AND FOR DUE PROCESS
                         RELIEF
       Comes now Appellant Oscar Stilley (Stilley) and for his verified motion for

remand for findings and order concerning release pending appeal, and to

supplement the record, and for due process relief, and states:


1.     Stilley has not been able to make contact with opposing counsel in this

appeal. Indeed, Stilley has not yet received the paperwork which shows who has

entered appearance for the government on this appeal, but assumes that certain

lawyers copied with the Clerk's letter 1-2-2025 have entered appearance. Stilley

has exceedingly limited communication capacities, which make it vastly more

difficult to ascertain the position of opposing counsel.

2.     The District Court in the person of Stephen P. Friot, a judge of the Western

District of Oklahoma (OKWD) but not the Northern District of Oklahoma,

(OKND) entered its criminal judgment 11-13-2024, imposing 2 years




                                        1
     Appellate Case: 24-5133     Document: 32    Date Filed: 02/03/2025   Page: 3



incarceration, denied self surrender, and denied stay pending appeal. District Court

Docket (DC Dkt.) 816.

3.     The District Court did not make the findings required by pertinent statutes

and rules, in support of an order or ruling granting or denying release pending

appeal.

4.     Stilley filed a motion in District Court, filestamped 1-13-2025, requesting

the necessary findings and a ruling on those findings, necessary and proper for a

lawful decision concerning release/stay pending appeal. Dkt. 837. To the extent not

prohibited by law or rule, Stilley incorporates that pleading and any exhibits as if

set forth herein word for word.

5.     Stilley simultaneously filed a motion in District Court, requesting that the

matter be decided by a district judge of the US District Court for the Northern

District of Oklahoma (OKND). Dkt. 836. To the extent not prohibited by law or

rule, Stilley incorporates that pleading and any exhibits as if set forth herein word

for word.

6.     Later that week Judge Friot removed himself from Stilley's criminal case

and other cases. Judge Friot did not mention Stilley's motion or assign that motion

as a reason for his action.

7.        The Honorable Sara E. Hill was thereupon assigned to Stilley's district court

criminal case.


                                         2
      Appellate Case: 24-5133      Document: 32      Date Filed: 02/03/2025     Page: 4



8.       Judge Hill entered an order the same week, saying that the district court had

lost jurisdiction to the 10th Circuit, due to Stilley's notice of appeal.

9.        Stilley filed his notice of appeal out of fear that jail or prison authorities

would prevent him from filing within the 14 day time period.

10.      If Stilley had not had this fear and had not been deprived of reasonable

access to the courts, he would have filed the motions 1 that appear as Docket 836

and 837 prior to filing the notice of appeal. However, Stilley would not under any

circumstance allow the 14 days to expire without 1) a filemarked notice of appeal,

or 2) ironclad assurances that his right to appeal would be preserved and could be

prosecuted after the conclusion of proceedings related to release pending appeal.

11.      Stilley's motion for a lawful judge (Dkt. 836) includes solid evidence that

Judge Friot engaged in ex parte communications with counsel for Stilley's

adversary. Counsel for the government tacitly admitted as much in an email to

Stilley, attached as Exhibit "l" to that motion. This email is also attached as

Exhibit "1" to this motion. All exhibits to this motion are incorporated herein as if

set forth herein word for word.




         Stilley does not have filemarked copies of these pleadings, nor does he have
     access to the docket (or anything else) online. Stilley prays the Court's indulgence ifhe
     uses the wrong docket number.


                                            3
      Appellate Case: 24-5133    Document: 32     Date Filed: 02/03/2025    Page: 5



12.      Stilley also filed a motion to disqualify Judge Friot prior to the felony

criminal trial 11-13-2024. DC Dkt. 815. Judge Friot denied this motion without

requesting a response from the government, whether oral or written.

13.      Stilley was and still is entitled to have the stay/ release pending appeal

decision made by a disinterested and impartial tribunal.

14.      Judge Friot was not a disinterested and impartial judge.

15.      Nor did Judge Friot project the public appearance of a disinterested and

impartial judge, in Stilley's criminal proceedings.

16.      Stilley's right to an impartial tribunal requires that this cause be remanded to

District Court for the required findings and for a decision on stay/release pending

appeal, by 1) a judge authorized by statute and rule to make such findings and

decisions, and 2) by an impartial tribunal, within the meaning of applicable law.

17.     Stilley in his district court motion docketed as 836 proved that Judge

Stephen P. Friot had made a de facto order in an ex parte communication with

counsel for the government.

18.     Stilley does not know the date or the exact terms of this ex parte order. Nor

is this order actually reflected in the official records below, or on this appeal.

19.     Stilley needs to seek and obtain proper proceedings at the district court

below, to ascertain the date and terms of the ex parte order, so that such will be

part of the official record on appeal.



                                          4
      Appellate Case: 24-5133   Document: 32      Date Filed: 02/03/2025   Page: 6



20.     The unjust terms and conditions of Stilley's current incarceration drastically

reduces Stilley's litigating capacity, and drastically reduces Stilley's chances of

obtaining just and complete relief on this appeal.

21.     Stilley prepared and submitted a two page list of due process deficiencies at

Cimarron Correctional Institution. Exhibit "2."

22.     On 12-19-2024 Stilley met with Mr. Thomas, Chief of Security for

Cimarron Correctional Facility. Mr. Thomas gave Stilley a receipt for the 2 pages,

and said that the 2 pages would be transmitted to CoreCivic corporate offices for a

decision. The receipt is basically illegible save for signatures and dates, but is

nevertheless attached hereto as Exhibit "3."

23.     Page 37 of the current version of the Cimmarron Correctional Facility

Inmate Handbook is attached hereto as Exhibit "4." This page demonstrates that

the maximum specified time for an administrative remedy response by correctional

or corporate personnel is 20 days.

24.     On information and belief, Stilley has exhausted all administrative remedies

"available" to him within the meaning of the law, concerning the due process

claims raised herein.

WHEREFORE, Stilley respectfully requests that this Court remand this cause to

the district court, for




                                         5
   Appellate Case: 24-5133      Document: 32   Date Filed: 02/03/2025    Page: 7



   1) particularized findings and for a decision on the question of stay/release

      pending appeal;

   2) findings and ascertainment of the date and specific terms of Judge Friot's ex

      parte order attached hereto as Exhibit "1;"

   3) findings and ascertainment of the date and specific terms of any other ex

      parte orders by Judge Friot, thoughout the conduct of the litigation below;

   4) and furthermore that this 10th Circuit Court order or recommend that

      Stilley's custodians permit Stilley's receipt and use of his own property for

      the preparation of legal pleadings, or otherwise compel or encourage

      CoreCivic to provide the due process upgrades contemplated by Exhibit "2,"

      in whole or in part;

   5) and for such other and further relief as may be appropriate, whether or not

      specifically requested.

                                  VERIFICATION
Comes now Defendant Oscar Stilley pursuant to 28 USC 1746 on the date stated
below and by his signature set forth below declares under penalty of perjury that
the foregoing facts are true and correct to the best of Stilley's knowledge and
belie£

Respec~y submitted,


By:_~(fll/,,,_
        _ _ _- + - 1 ' - - - - - -
Oscar Stilley, BOP 0579-062, Pro se                 Date
Cimarron Correctional Facility
3200 S. Kings Highway
Cushing, OK 74023

                                       6
     Appellate Case: 24-5133      Document: 32      Date Filed: 02/03/2025       Page: 8



                         BRIEF IN SUPPORT OF MOTION

        1.  STILLEY IS ENTITLED TO A RELEASE DECISION AND
        FINDINGS BY AN IMPARTIAL AND LEGALLY AUTHORIZED
        JUDGE.

        Appellant Oscar Stilley (Stilley) was entitled to an impartial judge, at the

district court. Tumeyv. Ohio, 273 U.S. 510, 47 S. Ct. 437, 71 L. Ed. 749 (1927).

        Stilley did not receive a trial2 before an impartial tribunal. He did not receive

the required consideration of his stay/release pending appeal decision by a judge of

the district court having jurisdiction - which is his right.

        Stilley has (to the extent of legal propriety) incorporated district court

dockets #836 and 837 herein as if set forth word for word.3 Perish the thought that

Stilley would needlessly increase the word count, but the following statutes make it

clear that Stilley is entitled to findings and an order regarding stay/release pending

appeal, by the newly assigned US District Judge Sara E. Hill.


        18 USC 3145. Review and appeal of a release or detention order



2       Stilley's adversaries prefer the tenn "hearing," as a means of evading
    constitutional rights that attach to a felony criminal trial.

3      This Court "may exercise our discretion to take judicial notice of publicly-filed
records in our court and certain other courts concerning matters that bear directly upon
the disposition of the case at hand." United States v. Ahidley, 486 F.3d 1184, 1192 n.5
(10th Cir. 2007).




                                          7
   Appellate Case: 24-5133    Document: 32     Date Filed: 02/03/2025    Page: 9



      (a) Review of a release order. If a person is ordered released by a
      magistrate [United States magistrate judge], or by a person other than a
      judge of a court having original jurisdiction over the offense and other than a
      Federal appellate court--

         (1) the attorney for the Government may file, with the court having
      original jurisdiction over the offense, a motion for revocation of the order or
      amendment of the conditions of release; and

         (2) the person may file, with the court having original jurisdiction over the
      offense, a motion for amendment of the conditions of release.

      The motion shall be determined promptly.

      (b) Review of a detention order. If a person is ordered detained by a
     magistrate [United States magistrate judge], or by a person other than a
     judge of a court having original jurisdiction over the offense and other than
      a Federal appellate court, the person may file, with the court having original
     jurisdiction over the offense, a motion for revocation or amendment of the
     order. The motion shall be determined promptly.

      (Emphases added)

Federal Rule of Appellate Procedure (FRAP) sets out the requirements:
      Rule 9. Release in a Criminal Case
      (a) Release Before Judgment of Conviction.
               (1) The district court must state in writing, or orally on the
            record, the reasons for an order regarding the release or detention
            of a defendant in a criminal case. A party appealing from the order
            must file with the court of appeals a copy of the district court's order
            and the court's statement of reasons as soon as practicable after
            filing the notice of appeal. An appellant who questions the factual
            basis for the district court's order must file a transcript of the release
            proceedings or an explanation of why a transcript was not obtained.




                                       8
   Appellate Case: 24-5133      Document: 32      Date Filed: 02/03/2025     Page: 10



                 (2) After reasonable notice to the appellee, the court of appeals
              must promptly determine the appeal on the basis of the papers,
              affidavits, and parts of the record that the parties present or the court
              requires. Unless the court so orders, briefs need not be filed.

                (3) The court of appeals or one of its judges may order the
              defendant's release pending the disposition of the appeal.

        (b) Release After Judgment of Conviction. A party entitled to do so may
       obtain review of a district-court order regarding release after a judgment of
       conviction by filing a notice of appeal from that order in the district court, or
       by filing a motion in the court of appeals if the party has already filed a
       notice of appeal from the judgment of conviction. Both the order and the
       review are subject to Rule 9(a). The papers filed by the party seeking
       review must include a copy of the judgment of conviction.

       (c) Criteria for Release. The court must make its decision regarding release
       in accordance with the applicable provisions of 18 U.S.C. §§ 3142, 3143,
       and 3145(c).
       (Emphases added)

       The Federal Rules of Appellate Procedure require Stilley to provide this

court with a statement of reasons, set forth by the district court. How else could the

appellate court efficiently review the release decision below? Yet District Judge

Friot made no such statement of reasons.

       Even if Judge Friot had made such a statement of reasons, that's not good

enough. Tumey and progeny make it clear that Stilley was and still is entitled to an

impartial judge at the district court. Stilley is entitled to his bite at the apple in

district court. If that doesn't work out, he is entitled to a second bite at the apple, in

the court of appeals. This motion is Stilley's effort to get his.first bite at a lawful


                                         9
   Appellate Case: 24-5133     Document: 32      Date Filed: 02/03/2025    Page: 11



apple. Stilley is fully convinced that this first bite will render the second bite at the

apple unnecessary - provided that external forces do not materially degrade his

litigation capabilities.

       Stilley is entitled to a ruling on the motion for stay/release pending appeal

by 1) an impartial district court judge, and 2) a judge lawfully qualified by federal

statutes and rules. He is equally entitled to a statement of reasons by such

impartial and duly qualified judge.

      The fundamental essence of due process is the right to be heard in a

meaningful time and a meaningful manner. Armstrong v. Manzo, 380 U.S. 545,

552, 14 L. Ed. 2d 62, 85 S. Ct. 1187 (1965). Refusal to speak when speaking

would force a concession does not comport with due process.

      The only reason Stilley has been convicted and served any time whatsoever

is the fact that the government has switched legal theories as often as they feel like

switching their theory. Once they have multiple theories in play they refuse to

commit to any theory.

      Stilley filed a motion for a true and correct record on the first as well as the

second revocation petition. DC Dkt. 749, 808. Both times the request was denied.

      Remand is required by due process - and also outcome determinative. The

government has refused to commit to a theory of criminal liability, precisely

because they know that committing to a theory - any theory - is fatal to their



                                        10
   Appellate Case: 24-5133     Document: 32     Date Filed: 02/03/2025     Page: 12



cause. Consider the pretrial and sentencing theories, and why findings sufficient

for a release decision also guarantee a showing that Stilley is 1) both factually and

legally innocent, and 2) legally entitled to reversal and dismissal of any and all

judgments of conviction against him.

       The pretrial theory was that Stilley's co-defendant Lindsey Springer earned

money and that Stilley paid the money to him at the direction of Stilley's clients.

The problem with that theory, for the government, is that it proves that Stilley is

innocent, not guilty. The government switched their theory of liability after a sua

sponte dispositive motion deadline for a reason.

      The sentencing theory of"stealing" is no better. For one it is an admission

that the government abandoned the purported indictment wholesale. For another,

there is absolutely no evidence that Stilley stole anything or helped anyone else

steal anything. Indeed, the evidence is to the indisputably to the contrary.

      That's why Judge Friot engaged in unethical ex parte communication with

counsel for the government, and then lied about it from the bench. That's why

Charles O'Reilly sat silent, failing to speak up to correct the record. If the

government has to take a firm and fixed position about the core issues of this case,

they necessarily lose.

      2.  REMAND FOR SUPPLEMENTATION OF THE RECORD IS
      ALSO REQUIRED.




                                        11
  Appellate Case: 24-5133     Document: 32      Date Filed: 02/03/2025   Page: 13



      The record on appeal is defined in Federal Rule of Appellate Procedure

(FRAP) 10. Those parts pertinent to this case are reproduced below.

      (c) Statement of the Evidence When the Proceedings Were Not
      Recorded or When a Transcript Is Unavailable.
       If the transcript of a hearing or trial is unavailable, the appellant may
      prepare a statement of the evidence or proceedings from the best available
      means, including the appellant's recollection. The statement must be served
      on the appellee, who may serve objections or proposed amendments within
      14 days after being served. The statement and any objections or proposed
      amendments must then be submitted to the district court for settlement and
      approval. As settled and approved, the statement must be included by the
      district clerk in the record on appeal.




      (e) Correction or Modification of the Record.

         (1) If any difference arises about whether the record truly discloses what
      occurred in the district court, the difference must be submitted to and
      settled by that court and the record conformed accordingly.

        (2) If anything material to either party is omitted from or misstated in the
      record by error or accident, the omission or misstatement may be
      corrected and a supplemental record may be certified and forwarded:

           (A) on stipulation of the parties;

           (B) by the district court before or after the record has been forwarded;
      or

           (C) by the court of appeals.




                                          12
  Appellate Case: 24-5133    Document: 32      Date Filed: 02/03/2025      Page: 14



        (3) All other questions as to the form and content of the record must be
      presented to the court of appeals.
      (Emphases added)

      The party asserting an issue on appeal has the duty of providing the appellate

court with an adequate record on appeal. United States v. Dago, 441 F.3d 1238,

1251 (10th Cir. 2006); Sanpete Water Conservancy Dist. v. Carbon Water

Conservancy Dist., 226 F .3d 1170, 1175 (10th Cir. 2000); McEwen v. City of

Norman, Okla., 926 F.2d 1539, 1550 (10th Cir. 1991). Any discrepancies in the

record are resolved in Appellee's favor. Arkla Energy Resources v. Roye Realty

and Developing, Inc., 9 F.3d 855, 865 (10th Cir. 1993).

      This Court's Local Rule 1.4 is explicit, providing as follows:

                         10.4 Content of record.

                         (A)    Essential items. Counsel must
                         designate a record on appeal or prepare an
                         appendix that is sufficient for considering and
                         deciding the appellate issues. Only essential
                         parts of the district court record should be
                         designated for the record on appeal.

                         (B)     Inadequate record. The court need not
                         remedy any failure by counsel to designate an
                         adequate record or to prepare an adequate
                         appendix. When the party asserting an issue
                         fails to provide a record or appendix
                         sufficient for considering that issue, the
                         court may decline to consider it.
                         (Emphasis added)

      3.  TIDS COURT SHOULD ALSO COMMAND OR AT LEAST
      RECOMMEND THAT THE GOVERNMENT NOT CAUSE OR



                                       13
    Appellate Case: 24-5133      Document: 32      Date Filed: 02/03/2025     Page: 15



        PERMIT ANY MATERIAL DIMINUTION OF STILLEY'S
        LITIGATION CAPACITY.

        District Judge Friot stated from the bench that he could have sentenced

Stilley to 2 years on each of 3 counts to run consecutively, for a total of 6 years.4

He also denounced Stilley as a fraud, now as much as he was at the original 2010

sentencing. That proves that in Judge Friot1s mind, Stilley was subjected to

jeopardy for the third time on counts 1, 3, and 4 of the original purported

indictment. The slightest violation of any condition of supervised release

whatsoever, in Judge Friot's mind, seems to be enough for a prison sentence up to

the max revocation sentence, for each of the original counts. That puts all three

indictment counts against Stilley into play, on this appeal, as to all three criminal

judgments entered against Stilley.

        Remand thus puts the government into the unenviable position of trying to

show record evidence to support the findings to the effect that Stilley stole or

helped steal money. There is no such evidence. In fact, there is direct evidence to

the contrary - which Stilley can prove from the record - if he has reasonable

facilities for his defense. The government likewise has to provide plausible

proposed findings for irrefutable Stilley1s 6th Amendment claim, as well as a host of

other meritorious defense claims that may be raised on appeal.


4       Stilley doesn't yet have the transcripts available to him, and thus must proceed on
    the basis of memory.


                                           14
    Appellate Case: 24-5133       Document: 32      Date Filed: 02/03/2025      Page: 16



        The government has put Stilley into a "trick bag." Stilley is an authorized

electronic filer at this court as well as the District Court below. Indeed, Stilley is an

authorized electronic filer in other state and federal courts as well.

        Stilley is in the custody of the US Marshals, who have contracted with

CoreCivic, a private corporation which operates Cimarron Correctional Facility,

(Cimarron) where Stilley is confined.

        Cimarron's law librarian allows Stilley about 3 hours, 3 days a week. 5When

the substitute librarian serves, inmates are allowed 7-8 hours per day, 4 days per

week, and about 4-5 hours the other day, in order to allow female inmates library

access for a short time, one day a week. At present, Stilley's litigating capacity is

about 10 to 20% of what it would be, ifhe were not in custody.

        Cimarron does not allow electronic filing. The law librarian has a computer

with internet access. Stilley could file his pleading in scant minutes, under the

watchful eye of the librarian, ifhe was given authorization. Thus far this has been

denied, but this might change if CoreCivic's evil deeds were brought to the light of

day.

        Cimarron grotesquely delays the US mail. Stilley's DC Dkt. 837 was placed

in the outgoing mail receptacle on 1-2-2025. It was postmarked the 8th• and

filemarked the 13th. This is standard operating procedure at this facility. Incoming
s        At first it was only 2 days per week. After a lengthy ordeal to prove his pro se
    status, he started getting 3 days per week.


                                            15
   Appellate Case: 24-5133     Document: 32     Date Filed: 02/03/2025    Page: 17



mail delivery is delayed similarly. Mail amounts to a roughly 10 day ordeal, in

both directions.

      Responses to motions at the district court are due within 7 calendar days.

OKND LcrR47-2. That's not unreasonable with electronic service and electronic

filing. But how can a litigant follow those rules when his or her due process rights

are stomped out by a private corporation, greedy for filthy lucre? How does one

respond to a motion within seven days when the motion won't even be delivered in

seven days?

      Just this summer, Stilley routinely used his FedEx account to ship via FedEx

Priority overnight packages, in Arkansas Supreme Court CV24-453, an original

action petition. This was necessary (and done) only until Stilley qualified for

electronic filing in Arkansas courts.

      Electronic filing is not allowed at this facility. Electronic noticing and

electronic filing would be easy - if respect for due process was any part of the

goal. Stilley's hands routinely come within a foot of the keyboard that he could use

for electronic filing, if that were permitted. The librarian could look over Stilley's

shoulder, watching every keystroke, as he electronically filed his pleadings.

      In Ark. Sup. Ct. CV24-453, Stilley moved to suppress the original judgment,

DC Dkt 338, as well as the first revocation judgment, DC Dkt. 752, on 6th

Amendment grounds. The 5 lawyers assigned to the case all defaulted on those



                                        16
    Appellate Case: 24-5133      Document: 32      Date Filed: 02/03/2025      Page: 18



motions. See DC Dkt. #805, which is roughly comparable pleading to the Arkansas

Supreme Court pleading. See DC Dkt. 809 for the motion to vacate DC Dkt. 338.

In the instant case, the government likewise defaulted on Stilley's motions to

vacate both of these judgments.

        Charles O'Reilly, counsel for the government, stated in a November 11,

2024 email that:

               [T]he Court notified the United States it needn't respond to your
               motions. I will see you Wednesday at 9:00 a.m. in Tulsa.

        Stilley believes that the ex parte order issued by Judge Friot is far from the

only ex parte order that he has issued in the proceedings below. However, Stilley is

extremely handicapped by the absurd limitations of this facility. Imagine the

frustration of knowing that a motion has been filed, but that Stilley probably won't

even see it for 10 days. Imagine the frustration of being in a place in which all

work-arounds have been blockaded, with the apparent intent to crush due process

and peaceful petition.

        Stilley owns all the equipment, supplies, and software or software licenses

necessary to quickly prepare first class pleadings. If he was allowed to possess and

use this equipment in his prison housing unit, with access to the internet,6 his

6        They have internet in the inmate housing units, which is used for the inmate
    tablets. (The tablets cannot be used to draft pleadings.) Stilley would only need access
    credentials, to use this internet access for his rights of due process and peaceful
    petition.


                                           17
   Appellate Case: 24-5133     Document: 32     Date Filed: 02/03/2025    Page: 19



litigating capacity would be essentially equivalent to his litigating capacity at

home. The famous rapper Sean "Diddy" Combs possesses a laptop in his jail cell.

Eric Robert Rudolph, the infamous Atlanta Olympics and abortion clinic bomber,

was allowed to keep a laptop in his cell for the purpose of collaborating with his

lawyer. Why can't Stilley have his own laptop to draft and file his own pro se

pleadings?

      The upcoming district court proceedings may be the most momentous and

consequential proceedings of Stilley's criminal ordeal. Yet the core issue on the

table - release pending appeal - will upon proper resolution restore Stilley to his

full litigation capacity. Stilley hopes to be able to possess and use his own property

and rights to property for those critical proceedings.

      Stilley has exhausted all remedies "available" within the meaning of the law.

Ross v. Blake, 578 U.S. 632, 136 S. Ct. 1850, 195 L. Ed. 2D 117 (2016). Stilley's

final remedy to CoreCivic corporate offices, dated 12-19-2024, has been pending

for twice the maximum amount of time specified in the current inmate handbook,

for any official response to an administrative remedy request. See Exhibit "4"

hereto. The "staff response" is virtually illegible on Stilley's only copy, but the date

is plain, and the "unresolved'' status is at least marginally legible. See Exhibit "3"

to this motion.




                                        18
   Appellate Case: 24-5133     Document: 32     Date Filed: 02/03/2025    Page: 20



      If CoreCivic or any of its enablers feel themselves aggrieved by this request

for a judicial remedy, they should come prepared to explain the willful and

extensive delays in both incoming and outgoing mail, the absence of any more

speedy methods of delivery, in conjunction with their suppression of any capacity

to transmit documents electronically, whether by email or otherwise. They should

come prepared to explain why an extensive set of behaviors that appear to

lawlessly increase corporate revenues at the expense of due process are really just

isolated circumstances not motivated by any unlawful purpose.

      Of course, they should also consider the possibility of adopting an honest

and honorable approach at this late hour. Stilley would be most delighted if

counsel for the government, in response to this motion, could report to the Court

that due process is now fully and fairly protected at all CoreCivic facilities,

through an agreement that has the express blessing of Stilley.

      Stilley emphatically does not wish to unduly delay the decision of this

motion for remand. If an order would unduly complicate the matter, Stilley most

respectfully requests a recommendation, or at least some language indicating that

this 10th Circuit Court of Appeals supports the right of inmates to reasonably access

the courts, using their own equipment.




                                         19
   Appellate Case: 24-5133    Document: 32      Date Filed: 02/03/2025    Page: 21



      Words have power. The words of the members of this august tribunal have

enormous power. The words of counsel for the government likewise have massive

power, both hard and soft.

                                  CONCLUSION

      This Court should remand this case for a stay/release pending appeal

decision with appropriate findings, and furthermore for supplementation of the

record. This Court should also include an order or recommendation to the effect

that the government should not procure or permit any material diminution of the

litigating capacity Stilley possessed prior to going to prison.

Respectfully submitted,




By:_~ ~-----'"---=.---+-----
Oscar tilley, BOP O 9-062, Pro se
                                                        l-J/l-2015
                                                     Date
Cimarron Correctional acility
3200 S. Kings Highway
Cushing, OK 74023

                          CERTIFICATE OF SERVICE

Stilley hereby certifies that on the date stated above he filed this pleading using the
CM/ECF system, whereby all interested persons using CMIECF will be served
with this pleading.

CERTIFICATE OF COMPLIANCE WITH LENGTH LIMITATIONS

I, Oscar Stilley, by virtue of my signature above, certify that I produced this brief
in an unknown version of OpenOffice Writer, that I have performed a word count,
and that this motion has 4,519 countable words, which is less than 5,200 words.


                                        20
            Appellate Case: 24-5133          Document: 32         Date Filed: 02/03/2025     Page: 22


          Gmail                                                                Oscar Stilley <oscarstllley@gmail.com>



Schedule for responses to motions
1 message                                                                                                               I
Oscar Stilley <oscarstilley@grnail.com>                                                    Mon, Nov 11, 2024 at 9:30 AM
To: Charles O'Reilly <charles.a.o'reilly@usdoj.gov>

  Dear Charles:

  Can you give me estimates of when you might file responses to my pending motions?

  Thanks,

  Oscar


  Oscar Stilley
  10600 North Highway 59
  Cedarville, AR 72932
  479.384.2303 cell phone
  oscarstilley@gmail.com
  www.bustingthefeds.com




M Gmail                                                                        Oscar Stilley <oscarstllley@gmail.com>



RE: [EXTERNAL] Schedule for responses to motions
1 message

O'Reilly, Charles A. (TAX) <Charles.A.O'Reilly@usdoj.gov>
                                                                                                                   I
                                                                                           Mon, Nov 11, 2024 at 9:46 AM
To: Oscar Stilley <oscarstilley@gmail.com>


  Mr. Stilley:

 The Court notified the United States it needn't respond to your motions.
 I will see you Wednesday at 9 a.m. in Tuisa.
 Take care.
  Charles O'Reilly

 Trial Attorney
   Appellate Case: 24-5133        Document: 32        Date Filed: 02/03/2025       Page: 23


                                    LIST OF UPGRADES

   COMPUTER UPDATES                                        f:yh ;l rt-          (_L'J ii
1. Update the computers so that all of them accept USB thwnb drives.
2. Give all inmate computers direct access to the printers. It is beyond absurd to criticize personnel
   for not having tech credentials and not make this elementary efficiency upgrade. These
   machines have had this byzantine system: for at least the last 2 years, for no lawful reason.
3. Get 3 spare computers, so upgrades don't disturb the flow of work. Upgraded machines can be
   rotated in with virtually no interruption. Most online subscriptions will tolerate a reasonable
   schedule of having the machine online for upgrades to the software. Of course, with suitable
   tech personnel the upgrades can be done online, a massive improvement in efficiency.
4. Move the law library to the big room near the entrance. Keep the old law library for females.
5. Add enough computers to stock the new men's law library. Keep the existing machines where
   they're at. If money's an issue please say what it would take to acquire sufficient suitably
   equipped machines.
6. Add personnel (including at least one with computer tech support proficiency) sufficient to
   support law library operations 8:00 AM - 8:00 PM Sunday through Thursday, and Friday 8:00
   AM to 5:00 PM, except federal holidays. We've had huge downgrades in the amount of usable
   time in the library. The resource was already insufficient for a 1,600 inmate facility, under the
   best of circwnstances. Also, lack of tech skills has been cited for getting rid of personnel, yet we
   have issues that could be fixed in 5 minutes tops, by a tech savvy person, or even someone who
   can do basic computer work with the assistance of a learned inmate.
7. Give every inmate at least 1 gigabyte of password protected networked file storage,
   supplemental to the use of thumb drives. With suitably qualified personnel, the same result
   could be had by using OneDrive or similar service to share the necessary files. This would be
   faster and save time and trouble for the mailroom.

   BOOKS AND SUBSCRIPTIONS

8. Get sufficient Microsoft subscriptions, to equip all inmate computers. One family plan will
    support up to 6 computers for $99 per year on the annual plan. It doesn't have to be online to
    work. This isn't costly, it is highly educational, and it would cost CoreCivic nothing as long as
    the inmates are allowed to pay the cost. Proficiency with Microsoft Word or other parts of the
    Microsoft Suite are required for many jobs. OpenOffice is not professional software, and is not
    recognized in the business world.
9. Maintain subscriptions to Adobe Acrobat full edition for at least half of all inmate computers. A
    current one seat subscription is about $24 per month, it's not a big issue and the inmates would
    pay if that's permitted and required to get access to the software.
10. Allow the inmates to pay for paper, toner cartridges, Ibico punch/bind machine, Ibico combs,
    clear covers, cardstock, etc., and use them as needed so long as the inmates pay to keep
    everything replaced.
11. Publish the list of the authorized booksellers in each housing unit.
12. Provide procedures to ensure that inmates have access to law and law related books, at prices
    not to exceed the customary cost for a similar book on Amazon, in good condition or better.
13. Move outdated legal resources (Federal Criminal Code and Rules) to the housing units,
    distribute them to where they're most needed. Save shelf space, they'll get more use.

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       Appellate Case: 24-5133         Document: 32        Date Filed: 02/03/2025         Page: 24

r
    14. Get current versions of the Federal Criminal Code and Rules (Thomson Reuters) and USSG
        Sentencing Guidelines, and allow inmates to acquire copies for their use in the housing W1its, at
        the customary cost on Amazon, for a similar book in good condition.

       ACCESS TO FILES AND INFORMATION

    15. Publish the procedures for receiving thumb drives containing pleadings, dockets, discovery,
        transcripts, form pleadings, etc. Also include instructions for sending thumb drives out in order
        to allow friends and family to file pleadings, print material, solicit expert advice and assistance,
        etc. Also cover the procedure for mailing out thumb drives when departing this institution, to
        ensure that work product is not lost. This should be posted in each housing unit. Inmates should
        be allowed to maintain at least one backup copy for at least 90 days after leaving the institution,
        in case of loss or failure of the media.
    16. Publish the procedures for getting free legal calls to lawyers, and for pro se litigants also to
        court clerks, opposing counsel, and other persons or entities necessary or proper for the efficient
        conduct of litigation. This should be posted in each housing unit.
    17. Allow the inmates to subscribe to PACER and PACERPRO and do batch downloads so as to
        maintain a current docket and all docket items in the criminal case and any civil litigation to
        which they're a party or in which they may have an arguable legal interest. Any computer savvy
        employee would be able to monitor every keystroke and ensure that the computers aren't
        misused. This would increase efficiency and cut down on the volume of paper going through
        the mail room.
    18. Allow pro se inmates with electronic filing privileges to file pleadings electronically, and also to
        check their cases at least every other day, to ensure that they don't miss any filing or miss any
        deadlines. Once again, total monitoring and oversight isn't even difficult. This does not raise
        material security concerns if qualified personnel is available.

       EQUIPMENT NEEDED

    19. We need an lbico hole punch machine for the men's law library and another for the women's
        law library. A good one can be had on Ebay for less than $100. New ones aren't that much more,
        but make sure you're getting a good one, not an off brand piece of junk.
    20. We need a workhorse sheet feed scanner, duplex capable, for both law libraries. Inmates wiil be
        able to scan and save papers, thus reducing work for the mail room as well as personnel
        processing inmates into and out of the institution.

        OPENING LINES OF COMMUNICATION

    21. Enable the use of the tablets in the housing units to make requests to staff, file grievances, etc.
    22. Create a procedure for identifying tablets with disabled functions, so full functionality can be
        restored.
    23. Get full size keyboards that will pair with the tablets for efficient drafting and editing of inmate
        requests, etc. The tablets do support that function.
    24. Acquire sufficient tablets to ensure that there is not excessive competition for the use of a tablet.




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    Appellate Case: 24-5133        Document: 32       Date Filed: 02/03/2025             Page: 25
                                                                                         14-105A (USMS)


Dates and times of contact with staff members concerning the inmate/resident's issue:



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Additional information received from meetings with staff members:




!STAFF RESPONSE:




Tentative completion date if remedy suggested:_ _ _ _ __

!Completion of Informal Resolution Process:

By signing below, the inmate/resident verifies agreement with the remedy suggested
above. If the inmate/resident is not satisfied with the remedy suggested above, the
inmate/resident is not required to sign below and may choose to file a formal grievance
with the Facility Grievance Officer. In either case, the inmate/resident will receive a cop}*
of this form on the day the final resolution process is completed.
Inmate Signature:______________                                     Date:
                                                                             ---------------
Designated Staff Signature:_ _ _ _ _ _ _ _ __                       Date:- - - - - - - -
*Witness Signature:_____________                                    Date:- - - - - -- -
*In the event the inmate/resident refuses to sign this form, a witness signature must be obtained to
verify that the inmate/resident was offered the opportunity for informal resolution.

Informal Resolution Outcome:            □ RESOLVED              □ UNRESOLVED


Distribution:
Original: Facility
Copy: Inmate/Resident
                                                                                                01/2023
               Appellate Case: 24-5133              Document: 32           Date Filed: 02/03/2025             Page: 26
                                              INMATE/DETAINEE HANDBOOK
                                           CIMARRON CORRECTIONAL FACILITY

Barring extraordinary circumstan·ces, a grievance will be con~idered settled it:the decision at any step.is not app.ealed b~ the
inmate/detainee within the given time limit                                 L \/ { . ( / {< . L   \I.} LIi
Informal Resolutions (form 14-105Al:                                         [....,An 1 tJ   T I
Detainees may use the informal resolution process concerning questions, disputes, or complaints before submitting a formal
grievance. If a detainee is not satisfied with the results of the informal resolution process, the detainee may file a formal
grievance. Detainees may bypass or terminate the informal resolution process at any point and proceed directly tci the formal
grievance process.
    1. The 14-105A Informal Resolution form_ must be utilized to initiate the informal resolution process.
    2. All 14-105As related to medical care and treatment must be submitted to qualified health services staff through
        facility mail and/or designated grievance mailboxes.
    3. With the exception of grievances related to medical care and treatment, detainees are required to submit 14-lOSA
        through facility mail, In person, via designated grievance mailboxes, or to the appropriate unit staff. In the absence of
        unit management, the Warden/Administrator will designate a staff member to receive informal resolution forms.
    The staff member assigned to complete the informal resolution process will be responsible for:
    1. Conducting an initial meeting with the detainee to discuss the issue
    2. Meeting with all staff members involved with the issue
    3. Researching necessary information to detennine if a remedy is possible (staff investigation procedures)
    4. Developing a response to present to the detainee to resolve the issue informally (appropriate response to grievances),
    5. Ensuring the detainee receives a copy of the completed 14-105A at the time the response is provided

Formal Grievances (form 14-1058): .
   1. A Formal Grievance is used to appeal the decision given on the Prisoner Information Request (if submitted) or to
      begin the grievance process.
   2. The 14-10SB Inmate/Detainee Grievance form must ~e used to file a formal grievance.
   3. The ihmate/detaineewill complete Page 1 of the 14-1058, including signature, and place itin the grievance box. The
      inmate/detainee will maintain the pink copy.                                                                •
   4. Inmates/Detainee in Segregation/Restrictive housing have access to the grievance box while going to showers and/or
      outside recreation,

       The Process:
   1. The detainee must:
            a. Fill out the 14-105B form completely
            b. Remove and retain the pink copy
            c. Place remaining two copies (White and Yellow) in the locked Grievance box
   2. The assigned staff will have three (3) business days, from the date the 14-105B is picked up to respond to the
       detainee. A copy of 14-1058 will be given to the detainee when the resolution is presented for signature.
   3; In the eventthat the inmate/detainee is not satisfied with the response, the inmate/detainee will have fifteen (15)
       calendar days from the date 14-105B was signed, to submit an appeal.
   4. The Warden (or designee) will have twenty (20) calendar days to provide a response on the appeal. Note: This is
      •considered th·e first level of appeal. •                                                                           .
   5. -If the inmate/ detainee is not satisfied with the first appeal's decision to the Warden/Facility Administrator, a 2nd
       level appeal can be submitted by completing a 14-1058, addressed to the Division Managing Director.
   6. The 2nd level appeal must be submitted within fifteen (15) calendar days from receipt of the 1st level appeal response.
   7. .Upon receipt of the Division Managing Director's response, the attempt to administratively resolve the issue will be
     • considered exhausted.

        ·E·iner&ency Grievances:                                              .
   1. If the subject matter of the grievance is such tµat compliance with the regular time guidelines would subjectthe
      inmate/detainee to risk of personal injury, the inmate/detainee may request that the grievance be considered an
      emergency grievance.
   2. The emergency grievance must detail the basis for requiring an immediate response.
   3. When the grievance is an emergency. use of the informal resolution process is not required.
   4. The 14-lOSB Inmate/Detainee Grievance form must be used to file an _e mergency grievance.
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Appellate Case: 24-5133   Document: 32   Date Filed: 02/03/2025   Page: 28
